  Case 1:13-cv-01767-RGA Document 9 Filed 11/27/13 Page 1 of 3 PageID #: 327



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


PARTNERS HEALTHCARE SOLUTIONS                  )
HOLDINGS, L.P.,                                )
                                               )
                             Plaintiff,        )
                                               )
          v.                                   )     C.A. No. 13-1767-RGA
                                               )
UNIVERSAL AMERICAN CORP.,                      )
                                               )
                             Defendant.
                                               )

                                   MOTION TO REMAND

               Plaintiff Partners Healthcare Solutions Holdings, L.P. hereby moves this Court for

an Order remanding this case pursuant to 28 U.S.C. § 1447(c) and supporting authority to the

Delaware Court of Chancery and awarding payment of just costs and actual expenses, including

attorneys’ fees, incurred as a result of the removal. The grounds for remand are set forth in the

attached Brief in Support of Motion to Remand Action to State Court.


                                           MORRIS, NICHOLS, ARSHT & TUNNELL LLP


                                           /s/ Jon E. Abramczyk
OF COUNSEL:                                Jon E. Abramczyk. (#2432)
                                           Ryan D. Stottmann (#5237)
Reed S. Oslan, P.C.                        1201 N. Market Street, 19th Floor
Scott A. McMillin, P.C.                    Wilmington, DE 19899-1347
Richard U.S. Howell                        (302) 658-9200
KIRKLAND & ELLIS LLP                       Attorneys for Plaintiff
300 North LaSalle Street
Chicago, IL 60654
312-862-2000

November 27, 2013

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 Case 1:13-cv-01767-RGA Document 9 Filed 11/27/13 Page 2 of 3 PageID #: 328



                    CERTIFICATE PURSUANT TO LOCAL RULE 7.1.1

               Local Rule 7.1.1 requires the filing of a certificate for all non-dispositive motions.

Pursuant to In re U.S. Healthcare, 159 F.3d 142 (3d Cir. 1998), this Motion to Remand is a

dispositive motion under applicable law. Nonetheless, we have informed opposing counsel of

our intent to file this motion and they have refused to consent to the relief sought herein.



                                             MORRIS, NICHOLS, ARSHT & TUNNELL LLP


                                             /s/ Jon E. Abramczyk
                                             Jon E. Abramczyk. (#2432)
OF COUNSEL:                                  Ryan D. Stottmann (#5237)
                                             1201 N. Market Street, 19th Floor
Reed S. Oslan, P.C.                          Wilmington, DE 19899-1347
Scott A. McMillin, P.C.                      (302) 658-9200
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KIRKLAND & ELLIS LLP
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                              CERTIFICATE OF SERVICE


              The undersigned hereby certifies that on November 27, 2013, the foregoing

MOTION TO REMAND and CERTIFICATE PURSUANT TO LOCAL RULE 7.1.1 was

caused to be served upon the following counsel of record via CM/ECF:

                     Blake Rohrbacher (#4750)
                     RICHARDS, LAYTON & FINGER, P.A.
                     920 North King Street
                     Wilmington, DE 19801
                     (302) 651-7700




                                              /s/ Ryan D. Stottmann
                                                        Ryan D. Stottmann (#5237)
